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 8   [Additional Counsel Listed on Signature Page]

 9                     UNITED STATES DISTRICT COURT
10               FOR THE NORTHERN DISTRICT OF CALIFORNIA
11   MICHELE MCCARTHY, individually
12   and on behalf of all others similarly        Civil Action
     situated,                                    No.:__________________
13

14                              Plaintiff,        CLASS ACTION COMPLAINT
15          v.                                    JURY TRIAL DEMANDED
16
     CHARLOTTE’S WEB HOLDINGS,
17   INC., a Colorado Corporation,
18
                                Defendant.
19

20
                             CLASS ACTION COMPLAINT
21

22         Plaintiff Michele McCarthy (“Plaintiff”), through her undersigned attorneys,
23
     Barbat, Mansour & Suciu PLLC, Kohn, Swift & Graf, P.C. and Greg Coleman
24
     Law PC, brings this Class Action Complaint against Defendant Charlotte’s Web
25

26   Holdings, Inc. (“Defendant”), individually and on behalf of all others similarly
27
                                              1
28
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 1
     situated, and complains and alleges upon personal knowledge as to herself and her

 2   own acts and experiences and, as to all other matters, upon information and belief,
 3
     including investigation conducted by her attorneys:
 4

 5                                   NATURE OF THE ACTION

 6            1.      This is a civil class action brought individually by Plaintiff on behalf
 7
     of consumers who purchased Defendant’s “CBD Oils”, “CBD Liquid Capsules”,
 8

 9   “CBD Gummies”, and “CBD Isolate” (collectively the “CBD Products” or the

10   “Products”)1 all of which are promoted as products containing cannabidiol (CBD),
11
     for personal use and not for resale.
12

13            2.      Defendant’s Products, however, are illegal to sell.

14            3.      Defendant formulates, manufactures, advertises, and sells the CBD
15
     Products throughout the United States, including in the State of California.
16

17            4.      The CBD (cannabidiol) Product market is a multibillion-dollar business
18   enterprise that is lucrative for its market participants and is expected to further
19
     expand into a $16 billion-dollar industry by 2025.2
20

21            5.      With knowledge of growing consumer demand for CBD Products,
22   Defendant has intentionally marketed and sold illegal CBD products.
23

24
     1
25       The Products contain numerous different flavors and dosages.
     2
26    https://www.forbes.com/sites/irisdorbian/2019/03/12/cbd-market-could-pull-in-16-bln-by-
     2025-says-study/#69e764bb3efd Last Visited on November 30, 2019.
27
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 1
           6.      Defendant’s multiple and prominent systematic mislabeling of the

 2   Products form a pattern of unlawful and unfair business practices that harms the
 3
     public.
 4

 5         7.      Accordingly, Plaintiff and each of the Class members have suffered an

 6   injury in fact caused by the false, fraudulent, unfair, deceptive, and misleading
 7
     practices as set forth herein, and seek compensatory damages and injunctive relief.
 8

 9         8.      Plaintiff brings this suit to halt the unlawful sales and marketing of the

10   CBD Products by Defendant and for damages she sustained as a result. Given the
11
     massive quantities of the Products sold all over the country, this class action is the
12

13   proper vehicle for addressing Defendant’s misconduct and for attaining needed relief

14   for those affected.
15
           9.      Plaintiff and each of the Class members accordingly suffered an injury
16

17   in fact caused by the false, fraudulent, unfair, deceptive, and misleading practices set
18   forth herein, and seek compensatory damages, statutory damages, and declaratory
19
     and injunctive relief.
20

21                              JURISDICTION AND VENUE
22         10.     This Court has original jurisdiction over this controversy pursuant to 28
23
     U.S.C. § 1332(d).        The amount in controversy in this class action exceeds
24

25   $5,000,000, exclusive of interest and costs, and there are numerous Class members
26   who are citizens of states other than Defendant’s states of citizenship.
27
                                                3
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 1
            11.    This Court has personal jurisdiction over Defendant in this matter. The

 2   acts and omissions giving rise to this action occurred in the state of California.
 3
     Defendant has been afforded due process because it has, at all times relevant to this
 4

 5   matter, individually or through its agents, subsidiaries, officers and/or

 6   representatives, operated, conducted, engaged in and carried on a business venture
 7
     in this state and/or maintained an office or agency in this state, and/or marketed,
 8

 9   advertised, distributed and/or sold products, committed a statutory violation within

10   this state related to the allegations made herein, and caused injuries to Plaintiff and
11
     putative Class Members, which arose out of the acts and omissions that occurred in
12

13   the state of California, during the relevant time period, at which time Defendant was

14   engaged in business activities in the state of California.
15
            12.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) and
16

17   (c) because a substantial part of the events or omissions giving rise to Plaintiff’s
18   claims occurred in this District and because Defendant transacts business and/or has
19
     agents within this District and has intentionally availed itself of the laws and markets
20

21   within this district.
22                                         PARTIES
23
            13.    Plaintiff Michele McCarthy is a citizen of California who resides in
24

25   Boulder Creek, California. On May 17, 2019, Plaintiff purchased CBD Oil in olive
26   oil flavor for $254.77 from Defendant’s website, charlottesweb.com. If Plaintiff
27
                                                4
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 1
     knew the Products were not legally sold in the United States, Plaintiff would have

 2   not purchased them.
 3
           14.    Defendant Charlotte’s Web Holdings, Inc. is a Colorado corporation
 4

 5   with its principal place of business at 1600 Pearl St., Ste. 300, Boulder, CO 80302.

 6                               FACTUAL ALLEGATIONS
 7
           15.    At all relevant times, Defendant has marketed its Products in a
 8

 9   consistent and uniform manner. Defendant sells the Products in all 50 states on its

10   website and through various distributors.
11
                           DEFENDANT’S ILLEGAL PRODUCTS
12

13         16.    On November 22, 2019, the United States Food & Drug Administration

14   sent roughly 15 Warning Letters discussing numerous violations of CBD products,
15
     including but not limited to; Dietary Supplement Labeling, Unapproved New Drugs,
16

17   Misbranded Drugs, Adulterated Human Foods, Unapproved New Animal Drugs,
18   and Adultered Animal Foods. All of these violations of the Food, Drug and Cosmetic
19
     Act make CBD products illegal to sell.3
20

21   //
22   //
23

24   3
      See https://www.fda.gov/news-events/press-announcements/fda-warns-15-companies-illegally-
25   selling-various-products-containing-cannabidiol-agency-
     details?utm_campaign=112519_Statement_FDA%20warns%20companies%20for%20illegally%
26   20selling%20various%20products%20containing%20cannabidiol&utm_medium=email&utm_so
     urce=Eloqua Last visited November 27, 2019.
27
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28
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 1
     Dietary Supplement Labeling

 2         17.    All of Defendant’s Products are mislabeled as Dietary Supplements or
 3
     contain the illegal dietary ingredient CBD. Every product contains a Supplement
 4

 5   Facts section on the back of the container which is reserved for dietary

 6   supplements and explicitly state “Dietary Supplement” on the front of the
 7
     packaging.
 8

 9         18.    The FDA has stated that CBD may not be labeled as a dietary

10   ingredient or legally be contained within a dietary supplement4:
11

12

13

14

15

16

17
           19.    Defendant’s Products cannot be dietary supplements because they do
18
19   not meet the definition of a dietary supplement under section 201(ff) of the FD&C
20   Act, 21 U.S.C. 321(ff). The FDA has concluded, based on available evidence, that
21
     CBD products are excluded from the dietary supplement definition under sections
22

23   201(ff)(3)(B)(i) and (ii) of the FD&C Act, 21 U.S.C. 321(ff)(3)(B)(i) and (ii).
24

25   4
      See https://www.fda.gov/consumers/consumer-updates/what-you-need-know-and-what-were-
26   working-find-out-about-products-containing-cannabis-or-cannabis
     Last Visited November 27, 2019.
27
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 1
     Under those provisions, if an article (such as CBD) is an active ingredient in a drug

 2   product that has been approved under section 505 of the FD&C Act, 21 U.S.C.
 3
     355, or has been authorized for investigation as a new drug for which substantial
 4

 5   clinical investigations have been instituted and for which the existence of such

 6   investigations has been made public, then products containing that substance are
 7
     outside the definition of a dietary supplement. There is an exception if the
 8

 9   substance was “marketed as” a dietary supplement or as a conventional food before

10   the new drug investigations were authorized; however, based on the evidence
11
     available to the FDA, the FDA has concluded that this is not the case for
12

13   CBD. The FDA is not aware of any evidence that would call into question its

14   current conclusion that CBD products are excluded from the dietary supplement
15
     definition under sections 201(ff)(3)(B)(i) and (ii) of the FD&C Act.
16

17         20.    Defendant’s conduct is also deceptive, unfair, and unlawful in that it
18   violates the prohibition against the sale of adulterated and misbranded products
19
     under California’s Sherman Laws, which adopt the federal labeling regulations as
20

21   the food labeling requirements of the state. Cal. Health & Safety Code § 110100.
22         21.    The introduction of adulterated and misbranded food into interstate
23
     commerce is prohibited under the FDCA and the parallel state statute cited in this
24

25   Class Action Complaint.
26
27
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 1
           22.      Plaintiff and Class Members would not have purchased the Products or

 2   would have paid less for the Products if they were aware of the misleading labeling
 3
     of the Products by Defendant.
 4

 5         23.      Defendant intended for Plaintiff and the Class members to be deceived

 6   or misled.
 7
           24.      Defendant’s deceptive and misleading practices proximately caused
 8

 9   harm to the Plaintiff and the Class.

10         25.      Plaintiff and Class members would not have purchased the Products, or
11
     would have not paid as much for the Products, had they known the truth about the
12

13   mislabeled and falsely advertised Products.

14                            CLASS ACTION ALLEGATIONS
15
           26.      Plaintiff brings this action individually and as representatives of all
16

17   those similarly situated, pursuant to Federal Rule of Civil Procedure 23, on behalf
18   of the below-defined Class:
19
           National Class: All persons in the United States who purchased the
20         Products.
21
           27.      In the alternative, Plaintiff brings this action on behalf of the following
22

23   State Class:
24         California State Sub-Class: All persons in the State of California who
25         purchased the Products.
26
27
                                                  8
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 1
               28.   Excluded from the Classes are: (1) Defendant, and any entity in which

 2   Defendant has a controlling interest or which have a controlling interest in
 3
     Defendant; (2) Defendant’s legal representatives, assigns and successors; and (3) the
 4

 5   judge(s) to whom this case is assigned and any member of the judge’s immediate

 6   family.
 7
               29.   Plaintiff reserves the right to redefine the Class(es), and/or requests for
 8

 9   relief.

10             30.   Certification of Plaintiff’s claims for class-wide treatment is
11
     appropriate because Plaintiff can prove the elements of her claims on a class-wide
12

13   basis using the same evidence as would be used to prove those elements in individual

14   actions alleging the same claims.
15
               31.   The members of the proposed Class(es) are so numerous that joinder of
16

17   all members is impracticable.
18             32.   The exact number of Class members is unknown. Due to the nature of
19
     the trade and commerce involved, as well as the number of online and direct
20

21   complaints, Plaintiff believes the Class consists of thousands of consumers.
22             33.   Common questions of law and fact affect the right of each Class
23
     member, and a common relief by way of damages is sought for Plaintiff and Class
24

25   members.
26
27
                                                   9
28
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 1
           34.      Common questions of law and fact that affect Class members include,

 2   but are not limited to:
 3
                 a. Whether the Products, when used by consumers in a normal and
 4                  customary manner and/or in accordance with Defendant’s suggested
 5                  use, works as advertised, marketed, and conveyed to consumers;

 6               b. Whether, in the course of business, Defendant represented that the
 7                  Products have characteristics, uses, benefits, or qualities that they do
                    not have when used by consumers in a normal and customary manner
 8                  and/or in accordance with Defendant’s suggested use;
 9
                 c. Whether the claims Defendant made and is making regarding the
10                  Products are unfair or deceptive; specifically, whether the Products
11                  were illegally labeled as dietary supplements;

12               d. Whether Defendant knew at the time the consumer transactions took
13                  place that consumers would not receive the promised benefits of the
                    Products that Defendant was claiming they would receive;
14

15               e. Whether Defendant knowingly made misleading statements in
                    connection with consumer transactions that reasonable consumers were
16                  likely to rely upon to their detriment;
17
                 f. Whether Defendant knew or should have known that the
18                  representations and advertisements regarding the Products were
19                  unsubstantiated, false, and misleading;
20               g. Whether Defendant has breached express and implied warranties in the
21                  sale and marketing of the Products;
22               h. Whether Defendant’s conduct violates public policy;
23
                 i. Whether Defendant’s acts and omissions violates California law;
24

25               j. Whether Defendant has been unjustly enriched by the sale of the
                    Products to the Plaintiff and the Class Members;
26
27
                                                10
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 1
                  k. Whether Plaintiff and the Class Members did not receive the benefit of
                     their bargain when purchasing the Products;
 2

 3                l. Whether the Plaintiff and the Class Members suffered monetary
                     damages, and, if so, what is the measure of those damages;
 4

 5                m. Whether Plaintiff and the Class Members are entitled to an injunction,
                     damages, restitution, equitable relief, and other relief deemed
 6                   appropriate, and, if so, the amount and nature of such relief.
 7
            35.      Defendant engaged in a common course of conduct giving rise to the
 8

 9   legal rights sought to be enforced by Plaintiff, on behalf of herself and the other

10   Class members. Similar or identical statutory and common law violations, business
11
     practices, and injuries are involved. Individual questions, if any, are pale by
12

13   comparison, in both quality and quantity, to the numerous common questions that

14   dominate this action.
15
            36.      Additionally, the factual basis of Defendant’s conduct is common to all
16

17   Class members and represents a common thread of misconduct resulting in injury
18   and damages to all members of the Class.
19
            37.      The named Plaintiff will fairly and adequately assert and protect the
20

21   interests of the Class. Specifically, she has hired attorneys who are experienced in
22   prosecuting class action claims and will adequately represent the interests of the
23
     Class; and they have no conflict of interests that will interfere with the maintenance
24

25   of this class action.
26
27
                                                11
28
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 1
                 a. The common questions of law and fact set forth herein predominate
                    over any questions affecting only individual Class members;
 2

 3               b. The Class is so numerous as to make joinder impracticable but not so
                    numerous as to create manageability problems;
 4

 5               c. There are no unusual legal or factual issues which would create
                    manageability problems, and depending on discovery, manageability
 6                  will not be an issue as much information is solely in Defendant’s
 7                  possession;

 8               d. Prosecution of separate actions by individual members of the Class
 9                  would create a risk of inconsistent and varying adjudications against
                    Defendant when confronted with incompatible standards of conduct;
10

11               e. Adjudications with respect to individual members of the Class could,
                    as a practical matter, be dispositive of any interest of other members
12                  not parties to such adjudications, or substantially impair their ability to
13                  protect their interests; and

14               f. The claims of the individual Class members are small in relation to the
15                  expenses of litigation, making a Class action the only procedure in
                    which Class members can, as a practical matter, recover. However, the
16                  claims of individual Class members are collectively large enough to
17                  justify the expense and effort in maintaining a class action.
18                                   CAUSES OF ACTION
19
                                          COUNT I
20                          California’s Unfair Competition Law
21                     Cal. Bus. & Prof. Code § 17200 et seq. (“UCL”)
                        (On Behalf of the California State Sub-Class)
22

23         38.      Plaintiff realleges and incorporates by reference the allegations
24   contained in Paragraphs 1 through 37, as though set forth fully herein.
25

26
27
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 1
           39.    The UCL prohibits any “unlawful, unfair or fraudulent business act or

 2   practice.” Cal. Bus. & Prof. Code § 17200.
 3
           40.    The acts, omissions, misrepresentations, practices, and non-disclosures
 4

 5   of Defendant as alleged herein constitute business acts and practices.

 6         41.    Unlawful: The acts alleged herein are “unlawful” under the UCL in
 7
     that they violate at least the following laws:
 8

 9         a.     The False Advertising Law, Cal. Bus. & Prof. Code §§ 17500 et seq.;

10         b.     The Consumers Legal Remedies Act, Cal. Civ. Code §§ 1750 et seq.;
11
           c.     The Federal Food, Drug, and Cosmetic Act, 21 U.S.C. §§ 301 et seq.;
12         and
13
           d.    The California Sherman Food, Drug, and Cosmetic Law, Cal. Health &
14   Safety Code §§ 110100 et seq.
15
           42.    Unfair: Defendant’s conduct with respect to the labeling, advertising,
16

17   and sale of the Products was “unfair” because Defendant’s conduct was immoral,
18   unethical, unscrupulous, or substantially injurious to consumers and the utility of
19
     their conduct, if any, does not outweigh the gravity of the harm to their victims.
20

21         43.    Defendant’s conduct with respect to the labeling, advertising, and sale
22   of the Products was and is also unfair because it violates public policy as declared
23
     by specific constitutional, statutory or regulatory provisions, including but not
24

25   limited to the applicable sections of: the Consumers Legal Remedies Act, the False
26
27
                                               13
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 1
     Advertising Law, the Federal Food, Drug, and Cosmetic Act, and the California

 2   Sherman Food, Drug, and Cosmetic Law.
 3
             44.   Defendant’s conduct with respect to the labeling, advertising, and sale
 4

 5   of the Products was and is unfair because the consumer injury was substantial, not

 6   outweighed by benefits to consumers or competition, and not one consumer
 7
     themselves could reasonably have avoided.
 8

 9           45.   Fraudulent: A statement or practice is “fraudulent” under the UCL if it

10   is likely to mislead or deceive the public, applying an objective reasonable consumer
11
     test.
12

13           46.   As set forth herein, Defendant’s claims relating the ingredients stated

14   on the Products’ labeling and moreover that the Products are labeled as illegal dietary
15
     supplements is likely to mislead reasonable consumers to believe the Products are
16

17   legal to purchase.
18           47.   Defendant profited from its sale of the falsely, deceptively, and
19
     unlawfully advertised and packaged Products to unwary consumers.
20

21           48.   Plaintiff and Class Members are likely to continue to be damaged by
22   Defendant’s deceptive trade practices, because Defendant continues to disseminate
23
     misleading information on the Products’ packaging.            Thus, injunctive relief
24

25   enjoining Defendant’s deceptive practices is proper.
26
27
                                               14
28
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 1
            49.    Defendant’s conduct caused and continues to cause substantial injury

 2   to Plaintiff and the other Class Members. Plaintiff has suffered injury in fact as a
 3
     result of Defendant’s unlawful conduct.
 4

 5          50.    In accordance with Bus. & Prof. Code § 17203, Plaintiff seeks an order

 6   enjoining Defendant from continuing to conduct business through unlawful, unfair,
 7
     and/or fraudulent acts and practices, and to commence a corrective advertising
 8

 9   campaign.

10          51.    Plaintiff and the Class also seek an order for and restitution of all
11
     monies from the sale of the Products, which were unjustly acquired through acts of
12

13   unlawful competition.

14                                       COUNT II
15                          California’s False Advertising Law
                          Cal. Bus. & Prof. Code § 17500 (“FAL”)
16                      (On Behalf of the California State Sub-Class)
17
            52.    Plaintiff realleges and incorporates by reference paragraphs 1 through
18
19   37 as if fully set forth herein.
20          53.    The FAL provides that “[i]t is unlawful for any person, firm,
21
     corporation or association, or any employee thereof with intent directly or indirectly
22

23   to dispose of real or personal property or to perform services” to disseminate any
24   statement “which is untrue or misleading, and which is known, or which by the
25

26
27
                                               15
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 1
     exercise of reasonable care should be known, to be untrue or misleading.” Cal. Bus.

 2   & Prof. Code § 17500.
 3
           54.      It is also unlawful under the FAL to disseminate statements concerning
 4

 5   property or services that are “untrue or misleading, and which is known, or which

 6   by the exercise of reasonable care should be known, to be untrue or misleading.” Id.
 7
           55.      As alleged herein, the advertisements, labeling, policies, acts, and
 8

 9   practices of Defendant relating to the Products misled consumers acting reasonably

10   as to the ingredients and effectiveness of the Products and moreover because the
11
     Products are illegally labeled as dietary supplements.
12

13         56.      Plaintiff suffered injury in fact as a result of Defendant’s actions as set

14   forth herein because she purchased the Products in reliance on Defendant’s false and
15
     misleading labeling claims that the Products, among other things, contained the
16

17   ingredients stated on the Products’ labeling and moreover that the Products were
18   legal dietary supplements as claimed on the Products’ labeling and Defendant’s
19
     website.
20

21         57.      Defendant’s business practices as alleged herein constitute deceptive,
22   untrue, and misleading advertising pursuant to the FAL because Defendant has
23
     advertised the Products in a manner that is untrue and misleading, which Defendant
24

25   knew or reasonably should have known, and omitted material information from its
26   advertising.
27
                                                 16
28
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 1
            58.    Defendant profited from its sale of the falsely and deceptively

 2   advertised Products to unwary consumers.
 3
            59.    As a result, Plaintiff, the California Sub-Class, and the general public
 4

 5   are entitled to injunctive and equitable relief, restitution, and an order for the

 6   disgorgement of the funds by which Defendant was unjustly enriched.
 7
            60.    Pursuant to Cal. Bus. & Prof. Code § 17535, Plaintiff, on behalf of
 8

 9   herself and the California Sub-Class, seeks an order enjoining Defendant from

10   continuing to engage in deceptive business practices, false advertising, and any other
11
     act prohibited by law, including those set forth in this Complaint.
12

13                                      COUNT III
                         California’s Consumer Legal Remedies Act
14                        Cal. Civ. Code § 1750 et seq. (“CLRA”)
15                      (On Behalf of the California State Sub-Class)

16          61.    Plaintiff realleges and incorporates by reference paragraphs 1 through
17
     37 as if fully set forth herein.
18
19          62.    The CLRA prohibits deceptive practices in connection with the conduct
20   of a business that provides goods, property, or services primarily for personal,
21
     family, or household purposes.
22

23          63.    Defendant’s false and misleading labeling and other policies, acts, and
24   practices were designed to, and did, induce the purchase and use of the Products for
25

26
27
                                               17
28
                                  CLASS ACTION COMPLAINT
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 1
     personal, family, or household purposes by Plaintiff and Class Members, and

 2   violated and continue to violate the following sections of the CLRA:
 3
                 a. § 1770(a)(5): representing that goods have characteristics, uses, or
 4                  benefits which they do not have;
 5
                 b. § 1770(a)(7): representing that goods are of a particular standard,
 6                  quality, or grade if they are of another;
 7
                 c. § 1770(a)(9): advertising goods with intent not to sell them as
 8                  advertised; and
 9
                 d. § 1770(a)(16): representing the subject of a transaction has been
10                  supplied in accordance with a previous representation when it has not.
11
           64.      Defendant profited from the sale of the falsely, deceptively, and
12

13   unlawfully advertised Products to unwary consumers.

14         65.      Defendant’s wrongful business practices constituted, and constitute, a
15
     continuing course of conduct in violation of the CLRA.
16

17         66.      Pursuant to the provisions of Cal. Civ. Code § 1782(a), Plaintiff will
18   provide a letter to Defendant concurrently with the filing of this Class Action
19
     Complaint or shortly thereafter with notice of its alleged violations of the CLRA,
20

21   demanding that Defendant correct such violations, and providing it with the
22   opportunity to correct its business practices. If Defendant does not thereafter correct
23
     its business practices, Plaintiff will amend (or seek leave to amend) the complaint to
24

25   add claims for monetary relief, including restitution and actual damages under the
26   Consumers Legal Remedies Act.
27
                                               18
28
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 1
            67.    Pursuant to California Civil Code § 1780, Plaintiff seeks injunctive

 2   relief, her reasonable attorney fees and costs, and any other relief that the Court
 3
     deems proper.
 4

 5                                       COUNT IV
                              Breach of Express Warranties
 6                              Cal. Com. Code § 2313(1)
 7                      (On Behalf of the California State Sub-Class)

 8          68.    Plaintiff realleges and incorporates by reference paragraphs 1 through
 9
     37 as if fully set forth herein.
10

11          69.    Through the Products’ labels and advertising, Defendant made

12   affirmations of fact or promises, or description of goods, described above, which
13
     were “part of the basis of the bargain,” in that Plaintiff and the Class purchased the
14

15   Products in reasonable reliance on those statements. Cal. Com. Code § 2313(1).

16          70.    Defendant breached the express warranties by selling Products that do
17
     not and cannot provide the promised benefits and moreover by selling Products that
18
19   are illegally labeled as dietary supplements.
20          71.    Plaintiff and the Class Members would not have purchased the Products
21
     had they known the true nature of the Products’ ingredients and what the Products
22

23   contained and that the Products are illegally labeled as dietary supplements.
24          72.    That breach actually and proximately caused injury in the form of the
25
     lost purchase price that Plaintiff and Class members paid for the Products.
26
27
                                              19
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 1
           73.    Furthermore, Defendant had actual knowledge of the defect in the

 2   Products purchased by Plaintiff, as well as the Products purchased by other members
 3
     of the Class, because it had actual knowledge of the nature, ingredients and qualities
 4

 5   of the ingredients in its Products by virtue of its own Products’ testing and it knows

 6   that the affirmations and representations it makes concerning the nature, benefits,
 7
     ingredients and quantities on the Products’ labeling and Defendant’s website and
 8

 9   advertising is false.

10         74.    As a result of Defendant’s breach of warranty, Plaintiff and Class
11
     Members have been damaged in the amount of the purchase price of the Products
12

13   and any consequential damages resulting from the purchases.

14                                      COUNT V
15                    Breach of Implied Warranty of Merchantability
                                  Cal. Com. Code § 2314
16                     (On Behalf of the California State Sub-Class)
17
           75.    Plaintiff realleges and incorporates by reference paragraphs 1-37 as if
18
19   fully set forth herein.
20         76.    Defendant, through its acts and omissions set forth herein, in the sale,
21
     marketing, and promotion of the Products, made representations to Plaintiff and the
22

23   Class that, among other things, the Products were labeled as legal dietary
24   supplements.
25

26
27
                                              20
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 1
           77.     Plaintiff and the Class bought the Products manufactured, advertised,

 2   and sold by Defendant, as described herein.
 3
           78.     Defendant is a merchant with respect to the goods of this kind which
 4

 5   were sold to Plaintiff and the Class, and there was, in the sale to Plaintiff and other

 6   consumers, an implied warranty that those goods were merchantable.
 7
           79.     However, Defendant breached that implied warranty in that the
 8

 9   Products provide no benefits, as set forth in detail herein, and moreover that the

10   Products are actually labeled as illegal dietary supplements.
11
           80.     As an actual and proximate result of Defendant’s conduct, Plaintiff and
12

13   the Class did not receive goods as impliedly warranted by Defendant to be

14   merchantable in that they did not conform to promises and affirmations made on the
15
     container or label of the goods nor are they fit for their ordinary purpose of providing
16

17   the benefits as promised.
18         81.     Plaintiff and the Class have sustained damages as a proximate result of
19
     the foregoing breach of implied warranty in the amount of the Products’ purchase
20

21   prices.
22   //
23
     //
24

25   //
26   //
27
                                               21
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 1
                                         COUNT VI
                   Declaratory Relief Under the Declaratory Judgment Act
 2                         (On Behalf of the Nationwide Class or,
 3                      Alternatively, the California State Sub-Class)

 4         82.      Plaintiff realleges and incorporates by reference paragraphs 1-37 as if
 5
     fully set forth herein.
 6

 7         83.      Plaintiff brings this cause of action on behalf of the Nationwide Class

 8   and/or the California State Sub-class.
 9
           84.      Declaratory relief is intended to minimize “the danger of avoidable loss
10

11   and unnecessary accrual of damages.” 10B Charles Alan Wright, Arthur R. Miller

12   & Mary Kay Kane, Federal Practice and Procedure § 2751 (3d ed. 1998).
13
           85.      Pursuant to 28 U.S.C. § 2201, et seq., there is an actual controversy
14

15   between Defendant and Plaintiff concerning whether:

16               a. Defendant has misrepresented the nature, ingredients and effectiveness
17                  of the Products; and
18               b. Defendant knew or should have known of the misrepresentations
19                  regarding the efficacy of the Products.
20         86.      Pursuant to 28 U.S.C. § 2201, the Court may “declare the rights and
21
     legal relations of any interested party seeking such declaration, whether or not
22

23   further relief is or could be sought.”
24         87.      Despite findings which have proven Defendant’s representations false,
25
     Defendant continues to represent the nature, ingredients and effectiveness of the
26
27
                                                22
28
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 1
     Products, specifically labeling the Products as illegal “dietary supplements” and has

 2   otherwise failed to correct those misrepresentations.
 3
           88.    Accordingly,     based   on    Defendant’s    repeated    and   continued
 4

 5   misrepresentations, Plaintiff seeks a declaration that Defendant has misrepresented

 6   the nature, ingredients and effectiveness of the Products and that its actions are
 7
     unlawful.
 8

 9         89.    The declaratory relief requested herein will generate common answers

10   that will settle the controversy related to the misrepresented labeling of the Products.
11
     There is an economy to resolving these issues as they have the potential to eliminate
12

13   the need for continued and repeated litigation.

14                                 PRAYER FOR RELIEF
15
           WHEREFORE, Plaintiff prays that this case be certified and maintained as a
16

17   class action and for judgment to be entered against Defendant as follows:
18
19         A.     Enter an order certifying the proposed Class (and subclasses, if
                  applicable), designating Plaintiff as the class representative, and
20                designating the undersigned as class counsel;
21
           B.     Enter an order awarding Plaintiff and the class members their actual
22                damages, treble damages, and/or any other form of monetary relief
23                provided by law, except that no monetary relief is presently sought for
                  violations of the Consumers Legal Remedies Act;
24

25         C.     Declare that Defendant is financially responsible for notifying all Class
                  members of the problems with the Products;
26
27
                                                23
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 1
          D.    Declare that Defendant must disgorge, for the benefit of the Class, all
                or part of the ill-gotten profits it received from the sale of the Products,
 2              or order Defendant to make full restitution to Plaintiff and the members
 3              of the Class, except that no monetary relief is presently sought for
                violations of the Consumers Legal Remedies Act;
 4

 5        E.    Defendant shall audit and reassess all prior customer claims regarding
                the Products, including claims previously denied in whole or in part;
 6

 7        F.    An order awarding Plaintiff and the classes pre-judgment and post-
                judgment interest as allowed under the law;
 8

 9        G.    For reasonable attorneys’ fees and reimbursement of all costs for the
                prosecution of this action, including expert witness fees; and
10

11        H.    For such other and further relief as this Court deems just and
                appropriate.
12                                 JURY DEMAND
13
          Plaintiff hereby demands a trial by jury on all issues so triable.
14

15
     Dated: November 30, 2019                            Respectfully Submitted,
16

17                                                  By: /s/ Jonathan Shub
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10

11                                          *Pro Hac Vice Application
                                            Forthcoming
12

13                                          Counsel For Plaintiff
                                            And The Class
14

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